           Case 4:21-cv-00471-JM Document 3 Filed 06/02/21 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION


DAREL ADELSBERGER                                                   PLAINTIFFS
AND ANNETTE ADELSBERGER


V.                            Case No. 4:21-cv-471

UNION PACIFIC RAILROAD COMPANY                                      DEFENDANT



      UNION PACIFIC RAILROAD COMPANY'S ANSWER TO COMPLAINT


        COMES NOW, Defendant, Union Pacific Railroad Company, and for its

Answer to Plaintiffs' Complaint states and alleges the following:

     1. Defendant is without sufficient information to either admit or deny the

        allegations contained in paragraph 1 of the Complaint, and therefore

        denies the same.


     2. Defendant admits the allegations contained in paragraph 2 of the

        Complaint.

     3. Defendant denies the allegations contained in paragraph 3 of the

        Complaint.

     4. Defendant admits that it uses and is responsible for maintaining certain

        railroad tracks and facilities in the state, including the track that passes

        through Section 2, Township 2 North, Range 11 West, Pulaski County,

        but denies the remaining allegations contained in paragraph 4 of the

        Complaint.

     5. Defendant denies the allegations contained in paragraph 5 of the

        Complaint.
      Case 4:21-cv-00471-JM Document 3 Filed 06/02/21 Page 2 of 5




6. Defendant denies the allegations contained in paragraph 6 of the

  Complaint.

7. Defendant denies the allegations contained in paragraph 7 of the

  Complaint.

8. Defendant denies the allegations contained in paragraph 8 of the

  Complaint.

9. Defendant denies the allegations contained in paragraph 9 of the

  Complaint.

10. Defendant denies the allegations contained in paragraph 10 of the

   Complaint.

11. Defendant denies the allegations contained in paragraph 11 of the

   Complaint.

12. Defendant denies the allegations contained in paragraph 12 of the

   Complaint.

13. Defendant denies the allegations contained in paragraph 13 of the

   Complaint.

14. Defendant denies the allegations contained in paragraph 14 of the

   Complaint.

15. Defendant denies the allegations contained in the wherefore clause of

   the Complaint.

16. Defendant denies all allegations not specifically admitted herein.

17. Defendant demands a jury trial.
      Case 4:21-cv-00471-JM Document 3 Filed 06/02/21 Page 3 of 5




                      AFFIRMATIVE DEFENSES


1. Plaintiffs have failed to state a claim for which relief may be granted.

2. Plaintiffs have failed to mitigate their damages.

3. Plaintiffs' contributory negligence bars Plaintiffs' recovery in whole or in

   part.

4. Any flooding which has occurred on Plaintiffs' property was the result of

   natural occurrences or circumstances outside the control of Defendant.

5. The doctrines of the statute of limitations, laches, waiver, and estoppel

   may bar some or all of the injuries claimed.

6. Some or all of the causes of action may be preempted by federal law

   including but not limited to the ICC Termination Act.

7. Jurisdiction for some or all of the causes of action reside with the

   Surface Transportation Board.

8. Defendant demands allocation and apportionment of the relative degrees

   of fault of all parties who are at fault under the Arkansas Comparative
   Fault Statutes, including Ark. Code, Ann. § 16-64-122, the Civil Justice

   Reform Act of 2003, as codified at Ark. Code. Ann. § 16-61-201 et seq.

   and an allocation of fault of all parties and relevant non-parties in

   accordance with Ark. Code. Ann. § 16-61-201 et seq., the Arkansas

   Uniform Contribution Among Tortfeasors Act (UCATA), and all applicable

   statutes and case law.
      Case 4:21-cv-00471-JM Document 3 Filed 06/02/21 Page 4 of 5




9. Pleading affirmatively, Defendant states that Plaintiffs alleged injuries

   and damages were caused, in whole or in part, by pre-existing conditions

   and/or other contributory or concurrent conditions or factors, including

   events occurring prior or subsequent to the occurrence(s) made the basis

   of Plaintiffs Complaint against Defendant, such that responsibility for

   such damages and/or injuries should be apportioned among pre

   existing, contributory, or concurrent factors.


10. As a separate, alternative affirmative defense to the Complaint,

   Defendant alleges that the Plaintiffs claims may be barred by any or all

   of the affirmative defenses set forth in Rule 8(c) of the Federal Rules of

    Civil Procedure. The extent to which the Plaintiffs claims may be barred

    by one or more of said affirmative defenses, not specifically set forth
    herein, cannot be determined until the Defendant has an opportunity to

    complete discovery. Therefore, the Defendant incorporates all said

    affirmative defenses as if fully set forth herein.


   WHEREFORE, Defendant prays for an order dismissing Plaintiffs

complaint, for an award of costs and attorney's fees and for all other relief to
which Defendant may be entitled.
         Case 4:21-cv-00471-JM Document 3 Filed 06/02/21 Page 5 of 5




                                    Respectfully submitted,

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                         CERTIFICATE OF SERVICE


      I, Jamie Huffman Jones, hereby certify that a copy of the foregoing has
been served upon the following counsel of through the Court's Electronic
Notification and/or mailed by United States Postal Service to the following non-
CM/ECF participant:

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                                          /s/ Jamie Huffman Jones
                                          Jamie Huffman Jones
